Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19        Page 1 of 29 PageID 2937


                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

 ODELL EDWARDS, Individually and              §
 as the Father of JORDAN EDWARDS,             §
 and on BEHALF OF MINORS, V.A.                §
 and K.E., and as Representative of the       §
 Estate of JORDAN EDWARDS,                    §
 Deceased,                                    §
        Plaintiff,                            §
                                              §
 SHAUNKEYIA KEYON STEPHENS,                   §   No. 3:17-cv-01208-M-BT
 and RHONDA WASHINGTON,                       §
      Intervenor Plaintiffs,                  §
                                              §
 v.                                           §
                                              §
 ROY OLIVER and THE CITY OF                   §
 BALCH SPRINGS, TEXAS,                        §
      Defendants.                             §

        FINDINGS, CONCLUSIONS, AND RECOMMENDATION
           OF THE UNITED STATES MAGISTRATE JUDGE

      Before the Court are three motions filed by Defendant the City of Balch

Springs, Texas (the “City”): (1) the City’s Rule 12(b)(6) Motion to Dismiss Plaintiff

Odell Edwards’s Fourth Amended Complaint (ECF No. 132); (2) the City’s Rule

12(b)(6) Motion to Dismiss Intervenor Plaintiff Shaunkeyia Stephens’s Third

Amended Complaint (ECF No. 135); and (3) the City’s Rule 12(b)(6) Motion to

Dismiss Intervenor Plaintiff Rhonda Washington’s Second Amended Complaint

(ECF No. 137). For the reasons stated, the District Court should GRANT

Defendant’s Motions, but DENY Defendant’s request to recover costs under 42

U.S.C. § 1988.


                                          1
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19         Page 2 of 29 PageID 2938


                                     Background

      This is a civil rights action brought under 42 U.S.C. § 1983 to recover

damages arising out of the shooting death of Jordan Edwards by former City police

officer Defendant Roy Oliver. In their live pleadings, Plaintiff and Intervenor

Plaintiffs (together, “Plaintiffs”) allege that:

             On April 29, 2017, Jordan Edwards, his brothers V.A. and
             K.E., and the Everett twins—M.E. and M.E.—attended a
             house party in Balch Springs, Texas. At around 11:00
             p.m., police officers arrived to shut down the party. The
             crowd quickly dispersed. M.E., M.E., V.A., K.E., and
             Edwards went to their car parked on Baron Drive to leave
             the party. V.A. drove the car, and M.E., M.E., K.E., and
             Edwards rode as passengers. V.A. was unable to drive
             away because several cars blocked Baron Drive. After
             hearing what he thought to be gun fire, V.A. put the car
             in reverse and backed toward Shepherd Lane, when a
             voice yelled at him to, “Stop the fucking car!” V.A.
             stopped the car at the intersection of Baron Drive and
             Shepherd Lane and then proceeded forward on Shepherd
             Lane. V.A. was driving away from City police officers
             Tyler Gross and Defendant Oliver when Oliver fired five
             shots from his assault rifle at the car as it drove away. The
             bullets struck the car in multiple places, shattering the
             passenger side front window and the rocker panel on the
             passenger side. One bullet struck Edwards in the head
             and killed him. V.A. continued to drive southbound on
             Shepherd Lane and turned onto Bishop Drive, where he
             stopped to call his father, Plaintiff Odell Edwards, and
             check on Jordan Edwards. Balch Springs Police
             Department (“BSPD”) Officer Jeremy Chamblee arrived
             and ordered the boys out of the car; they pleaded with
             Chamblee to provide medical assistance to Edwards. V.A.
             attempted to get out of the car but was ordered “to step
             out of the car one leg at a time and face forward away
             from the officers.” After walking a few feet as
             commanded, V.A. was grabbed, handcuffed, and placed
             into the back of a patrol car, where he would remain for
             over two hours. The officers shouted and pointed their

                                            2
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19         Page 3 of 29 PageID 2939


            guns at V.A., K.E., M.E., and M.E. Defendant Oliver also
            shouted at them, though they complied with the officers’
            orders. After everyone got out of the car, EMS personnel
            were dispatched; they arrived approximately 15 minutes
            later to attend to Edwards. V.A., K.E., M.E., and M.E.
            were arrested but were not told why.

Edwards Fourth Am. Compl. 4-7 (ECF No. 123); Stephens Third Am. Compl. 3-6

(ECF No. 134); Washington Sec. Am. Compl. 4-6 (ECF No. 127).

      Jordan Edwards died from the gunshot wound to his head, and Plaintiff

Odell Edwards, Jordan Edwards’s father and the father of V.A., and K.E.;

Intervenor Plaintiff Shaunkeyia Stephens, Jordan Edwards’s mother; and

Intervenor Plaintiff Rhonda Washington, the Everett twins’ mother, filed separate

Complaints against the City of Balch Springs and Roy Oliver. With respect to the

City, Plaintiffs assert claims under § 1983 for failure to train its officers on the

appropriate use of force and for failure to supervise and discipline its officers

regarding use of force. Plaintiff Odell Edwards brings claims on his own behalf, as

well as on behalf of Jordan Edwards’s estate and on behalf of his minor children

V.A. and K.E. Edwards Fourth Am. Compl. 18-24. Intervenor Plaintiff Stephens

brings claims individually. Compl. 16-20. Intervenor Plaintiff Rhonda Washington

brings claims on her own behalf and as next friend of her children, M.E. and M.E.

Washington Sec. Am. Compl. 16-20.

      The City filed three motions to dismiss Plaintiffs’ claims against it for failure

to state a claim. Def.’s Mot. Edwards (ECF No. 132); Def.’s Mot. Stephens (ECF No.




                                          3
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19           Page 4 of 29 PageID 2940


135); Def.’s Mot. Washington (ECF No. 137). All three motions are fully briefed and

ripe for determination.

                                  Legal Standard

      When deciding a 12(b)(6) motion for failure to state a claim, the Court

“accepts all well-pleaded facts as true, viewing them in the light most favorable to

the plaintiff.” In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir.

2007) (quotation marks and citation omitted). To survive Defendant’s Rule

12(b)(6) Motion to Dismiss, therefore, Plaintiffs’ Complaints must contain

sufficient factual matter to state a claim for relief that is plausible on its face. Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “To be plausible, the complaint’s

‘[f]actual allegations must be enough to raise a right to relief above the speculative

level.’” In re Great Lakes Dredge & Dock Co. LLC, 624 F.3d 201, 210 (5th Cir. 2010)

(quoting Twombly, 550 U.S. at 555). This pleading standard does not require

“‘detailed factual allegations,’” but it does demand more than an unadorned

accusation devoid of factual support. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Twombly, 550 U.S. at 555). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw a reasonable inference

that the defendant is liable for the misconduct alleged.” Id. at 678 (citing Twombly,

550 U.S. at 556). “[A] formulaic recitation of the elements of a cause of action will

not do.” Twombly, 550 U.S. at 555 (citing Papasan v. Allain, 478 U.S. 265, 286

(1986)). “While legal conclusions can provide the framework of a complaint, they

must be supported by factual allegations.” Iqbal, 556 U.S. at 679. Where the facts

                                           4
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19          Page 5 of 29 PageID 2941


do not permit the Court to infer more than the mere possibility of misconduct, the

Complaint has stopped short of showing that Plaintiff is plausibly entitled to relief.

Id. at 678 (citing Twombly, 550 U.S. at 557).

      Heightened pleading requirements for § 1983 claims are “impossible to

square . . . with the liberal system of ‘notice pleading’ set up by the Federal Rules.”

Leatherman v. Tarrant Cty. Narcotics Intelligence & Coordination Unit, 507 U.S.

163, 168 (1993); see also Davidson v. AT&T Mobility, LLC, 2018 WL 1407283, at

*6 (N.D. Tex. Mar. 21, 2018). However, Leatherman’s prohibition on imposing “a

heightened pleading standard that exceeds the requirements of rule 8(a),” does not

mean that § 1983 claims are entitled to a more relaxed standard than Rule 8(a)

requires. Davidson, 2018 WL 1407283, at *6. Section 1983 claims must satisfy the

current Rule 8(a) standard and “‘state a claim of relief that is plausible on its face.’”

Id.; Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 570; see also Speck v. Wiginton,

606 F. App'x 733, 735-36 (5th Cir. 2015) (per curiam) (“Speck first contends that

the district court applied a heightened pleading standard for civil rights cases

contrary to Leatherman . . . . But the district court correctly stated that the proper

standard was Rule 8 as interpreted by Twombly . . . and Iqbal . . . .”).

      In deciding a Rule 12(b)(6) motion, a court may not look beyond the

pleadings. Spivey v. Robertson, 197 F.3d 772, 774 (5th Cir. 1999) (citation

omitted). However, the pleadings, for the purpose of determining a Rule 12(b)(6)

motion, include documents attached to the pleadings and to the motion to dismiss

so long as they “are referred to in the plaintiff’s complaint and are central to her

                                           5
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19        Page 6 of 29 PageID 2942


claim.” Causey v. Sewell Cadillac-Chevrolet, Inc., 394 F.3d 285, 288 (5th Cir.

2004) (citing Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498-99 (5th

Cir. 2000)).

                                     Analysis

      The Court first addresses Plaintiffs’ claims for § 1983 municipal liability,

generally, before turning to their failure-to-train and failure-to-supervise theories

of municipal liability, claims for individual damages, and “bystander claims.”

Because the Court understands any claim against the Balch Springs Police

Department to be a claim against the City of Balch Springs, no dismissal of the

BSPD for lack of jural existence is necessary. Edwards Resp. 22 (ECF No. 148)

(“Plaintiffs have not named the BSPD as an independent defendant.”).

                       I.     § 1983 Municipal Liability

      Defendant asserts that Plaintiffs’ Complaints fail to state a claim for

municipal liability because they contain no specific factual pleading to support an

inference “of a direct causal link between the alleged policy and the violation,” “of

deliberate indifference by a        City policymaker,” or “that        any alleged

unconstitutional policy, practice or custom was promulgated or ratified by a

policymaker.” Def.’s Br. Supp. Edwards 5-6 (ECF No. 131); Def.’s Br. Supp.

Stephens 5-6 (ECF No. 136); Def.’s Br. Supp. Washington 5 (ECF No. 138).

Plaintiffs assert that their Complaints sufficiently identify a policymaker; identify

the customs, practices, and policies at issue; and allege that those customs,

practices, and policies were the “moving force” behind the constitutional violations

                                         6
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19        Page 7 of 29 PageID 2943


at issue. Edwards Resp. 12-13; Stephens Resp. 11-13 (ECF No. 153); Washington

Resp. 11-13 (ECF No. 150). The Court finds that Plaintiffs have not sufficiently

alleged the City had an unconstitutional policy or custom to state a claim for

municipal liability under § 1983.

      While § 1983 claims may be brought against municipalities “where . . . the

action that is alleged to be unconstitutional implements or executes a policy

statement, ordinance, regulation, or decision officially adopted and promulgated

by that body’s officers,” municipalities cannot be held liable solely for employing a

tortfeasor; that is, they “cannot be held liable under § 1983 on a respondeat

superior theory.” Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 690-91 (1978). To

establish a claim for municipal liability under § 1983, “a plaintiff must show the

deprivation of a federally protected right caused by action taken ‘pursuant to an

official municipal policy.’” Valle v. City of Houston, 613 F.3d 536, 541 (5th Cir.

2010) (citing Monell, 436 U.S. at 691). “A plaintiff must identify: ‘(1) an official

policy (or custom), of which (2) a policymaker can be charged with actual or

constructive knowledge, and (3) a constitutional violation whose “moving force” is

that policy or custom.’” Id. at 541-42. (citing Pineda v. City of Houston, 291 F.3d

325, 328 (5th Cir. 2002)). “[I]solated unconstitutional actions by municipal

employees will almost never trigger liability.” Piotrowski v. City of Houston, 237

F.3d 567, 578 (5th Cir. 2001) (citing Bennett v. City of Slidell, 728 F.2d 762, 768

n.3 (5th Cir. 1984); McKee v. City of Rockwall, 877 F.2d 409, 415 (5th Cir. 1989))



                                         7
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19        Page 8 of 29 PageID 2944


(footnote omitted). With respect to the first prong, a plaintiff can prove that an

official policy exists by offering proof of:

             (1) a policy statement, ordinance, regulation, or decision
             that is officially adopted and promulgated by the
             municipality’s lawmaking officers or by an official to
             whom the lawmakers have delegated policy-making
             authority; or (2) a persistent, widespread practice of city
             officials or employees, which, although not authorized by
             officially adopted and promulgated policy, is so common
             and well settled as to constitute a custom that fairly
             represents a municipal policy.

Burge v. Saint Tammany Par., 336 F.3d 363, 369 (5th Cir. 2003) (quoting Bennett

v. City of Slidell, 735 F.2d 861, 862 (5th Cir. 1984) (per curiam)); see also Bd. of

Cty. Comm’rs v. Brown, 520 U.S. 397, 404 (1997) (“Similarly, an act performed

pursuant to a ‘custom’ that has not been formally approved by an appropriate

decisionmaker may fairly subject a municipality to liability on the theory that the

relevant practice is so widespread as to have the force of law.”) (citations omitted).

Under the second prong, the policymaker possessing actual or constructive

knowledge must have “the responsibility for making law or setting policy in any

given area of a local government’s business.” City of St. Louis v. Praprotnik, 485

U.S. 112, 125 (1988); see also Valle, 613 F.3d at 542. “Municipal liability attaches

only where the decisionmaker possesses final authority to establish municipal

policy with respect to the action ordered.” Pembaur v. City of Cincinnati, 475 U.S.

469, 481 (1986). Last, under the third prong, a plaintiff must establish that “the

municipal action was taken with the requisite degree of culpability and . . .



                                               8
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19         Page 9 of 29 PageID 2945


demonstrate a direct causal link between the municipal action and the deprivation

of federal rights.” Bd. of Cty. Comm’rs, 520 U.S. at 404.

      Here, though Plaintiffs state that “Defendant Oliver and other officers at the

scene of the shooting incident were . . . acting pursuant to customs, practices and

policies of the City of Balch Springs and the BSPD in regards to the use of deadly

force as authorized and/or ratified by the Balch Springs City Council, Mayor

Marshall, and Chief Haber,” they fail to allege facts to support that the City had a

widespread practice that amounted to a municipal policy. Edwards Fourth Am.

Compl. 19; Stephens Third Am. Compl. 16; Washington Sec. Am. Compl. 16.

Plaintiffs do not allege the City promulgated an official policy that was inadequate.

Rather, they appear to rely on the second basis for establishing a municipal policy.

That is that the City had “a persistent, widespread practice . . . which, although not

authorized by officially adopted and promulgated policy, is so common and well

settled as to constitute a custom that fairly represents a municipal policy.” Burge,

336 F.3d at 369. Plaintiffs allege that the City’s absence of a deadly-force policy

constitutes a persistent, widespread practice. Specifically, Plaintiffs plead that the

City “failed and refused to implement customs, policies, practices, or procedures,

. . . regarding the proper use of deadly force,” and that in failing to discipline its

officers, the City ratified and encouraged “violent, aggressive, and excessive force,”

so that “[t]he actual practice or custom of BSPD regarding the use of excessive

and/or deadly force was to shoot first and ask questions later.” Edwards Fourth



                                          9
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19           Page 10 of 29 PageID 2946


Am. Compl. 19-21; Stephens Third Am. Compl. 17-18; Washington Sec. Am. Compl.

17-19.

         Plaintiffs support their claim that the City had a “shoot first” policy by

cataloguing incidents of Oliver’s alleged misconduct and purported unfitness for

the job, stating “Defendant Oliver was allowed to violate multiple policies without

any adequate consequences.” Edwards Fourth Am. Compl. 14; Stephens Third Am.

Compl. 12; Washington Sec. Am. Compl. 12. Plaintiffs assert that: “Oliver’s overall

screening results suggested that he was not fit to serve”; “the Dallas County

prosecutor’s office filed a complaint regarding Defendant Oliver’s aggressive

behavior in a court proceeding” for which the BSPD suspended him for 16 hours;

he used vulgar language in the courtroom; he exerted excessive force against a

civilian on a call; he posted language on social media demonstrating his

“propensity to kill”; and, two weeks before the shooting death of Jordan Edwards,

he brandished his gun during an off-duty encounter with a woman who allegedly

rear-ended him. Edwards Fourth Am. Compl. 8-10; Stephens Third Am. Compl. 7-

9; Washington Sec. Am. Compl. 7-8. Plaintiffs contend Oliver was not adequately

disciplined because he “was not terminated although he violated departmental

policies on multiple occasions.” Edwards Fourth Am. Compl. 11; Stephens Third

Am. Compl. 9; Washington Sec. Am. Compl. 9.

         Plaintiffs also allege that other Balch Springs police officers had a history of

violent conduct and cite two incidents—one in which a “Balch Springs officer used

a taser on an African American male even though he was clearly restrained by

                                            10
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19      Page 11 of 29 PageID 2947


handcuffs,” and another in which a Balch Springs officer arrested a man, who

allegedly caused a disturbance in an apartment, and tased him to death though he

complied with the officer’s instructions. Edwards Fourth Am. Compl. 11; Stephens

Third Am. Compl. 9-10; Washington Sec. Am. Compl. 9. Plaintiff Washington

includes a third instance in which Balch Springs Police Officer Pedro Gonzales

allegedly entered a home without a warrant and shot at a dog. Washington Sec.

Am. Compl. 9.

      However, “[w]here prior incidents are used to prove a pattern, they ‘must

have occurred for so long or so frequently that the course of conduct warrants the

attribution to the governing body of knowledge that the objectionable conduct is

the expected, accepted practice of city employees.’” Peterson v. City of Fort Worth,

588 F.3d 838, 850 (5th Cir. 2009) (quoting Webster v. City of Houston, 735 F.2d

838, 842 (5th Cir. 1984) (per curiam)). Demonstrating “[a] pattern requires

similarity and specificity; ‘[p]rior indications cannot simply be for any and all

“bad” or unwise acts, but rather must point to the specific violation in question.’”

Peterson, 588 F.3d at 851 (quoting Estate of Davis ex rel. McCully v. City of N.

Richland Hills, 406 F.3d 375, 383 (5th Cir. 2005)). That Oliver may have engaged

in aggressive conduct with minimal reprimand does not sufficiently support

Plaintiffs’ allegation that Balch Springs Police Department has a persistent and

widespread municipal policy of using excessive force. And although Plaintiffs

include instances of alleged misconduct by other officers, those instances are too

factually dissimilar to support the inference of a custom that fairly represents a

                                        11
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19               Page 12 of 29 PageID 2948


municipal policy. See Livezey v. City of Malakoff, 657 F. App'x 274, 278 (5th Cir.

2016) (per curiam) (“The events are dissimilar enough not to establish a pattern of

violations by Fierro.”). Even when taken as true, as the legal standard at this

pleading stage requires, the two instances of excessive tasing do not support the

contention that the City has a “shoot first and ask questions later” policy. Further,

Plaintiff Washington’s warrantless-search and shooting-at-an-animal example is

also not factually similar enough to establish a pattern.

       Plaintiffs also fail to sufficiently allege a pattern of failures to discipline

indicating that the City ratified its “shoot first” policy via inaction. Though the two

tasing instances are factually dissimilar to the facts of this case, the unnamed

officer responsible for tasing Marco Stephenson is the only employee, 1 other than

Oliver, that all Plaintiffs allege the City failed to discipline for misconduct. Edwards

Fourth Am. Compl. 11; Stephens Third Am. Compl. 10; Washington Sec. Am.

Compl. 9. Plaintiffs do not allege that the City failed to discipline the Balch Springs

officer responsible for tasing Eric Ricks to death. Edwards Fourth Am. Compl. 11;

Stephens Third Am. Compl. 10; Washington Sec. Am. Compl. 9. In fact, the only

instance that Plaintiffs allege with more similar facts—Sergeant James Young’s

alleged November 2013 shooting of an “unarmed black man in a car he suspected

of stealing from a Dollar Tree store”—includes no assertion that the City failed to

discipline Young for improper conduct. Edwards Fourth Am. Compl. 13-14;


1Plaintiff Washington alone raises the warrantless-search and shooting-at-an-animal example,
and she indicates that the City suspended Officer Gonzales for one day without pay as a result of
that incident. Washington Sec. Am. Compl. 9.
                                               12
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19        Page 13 of 29 PageID 2949


Stephens Third Am. Compl. 12; Washington Sec. Am. Compl. 11-12. Accordingly,

the Court finds that Plaintiffs have failed to state a claim for municipal liability

against the City because they have not adequately alleged that the City had a

municipal policy by which their federal rights were violated.

                     II.   Failure to Train and Supervise

      Defendant moves to dismiss Plaintiffs’ § 1983 failure-to-train and failure-to-

supervise municipal-liability claims on grounds that Plaintiffs failed to “establish

what training allegedly should have been provided or . . . was allegedly defective”

and insufficiently pleaded “an inference of deliberate indifference by a

policymaking official.” Def.’s Br. Supp. Edwards 8, 11; Def.’s Br. Supp. Stephens 8,

11; Def.’s Br. Supp. Washington 8, 11. Plaintiffs respond that “[a] failure to train

officers with deliberate indifference to citizens’ constitutional rights constitutes a

policy or custom for the purposes of municipal liability,” and cite the same

instances of Oliver’s and other officers’ alleged misconduct referenced in section I.

Edwards Resp. 14-15; Stephens Resp. 13-14; Washington Resp. 13-14. Plaintiffs

contend that those incidents demonstrate the City’s failure to train. Plaintiffs

further assert that “deliberate indifference generally requires more than just a

single instance that causes a constitutional violation—rather, there needs to be

some pattern of similar violations.” Edwards Resp. 13-14; see Stephens Resp. 12;

Washington Resp. 12. They maintain that the incidents they have pleaded

“certainly satisfy[y] [their] pleading requirements at this stage of the proceedings.”

Edwards Resp. 15; Stephens Resp. 14; Washington Resp. 13-14. The Court finds

                                         13
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19          Page 14 of 29 PageID 2950


that Plaintiffs fail to state a claim for municipal liability based on a failure to train

or supervise theory.

      “The failure to train can amount to a policy if there is deliberate indifference

to an obvious need for training where citizens are likely to lose their constitutional

rights on account of novices in law enforcement.” Peterson, 588 F.3d at 849 (citing

Brown v. Bryan Cty., 219 F.3d 450, 458 (5th Cir. 2000)). To bring a failure-to-

train claim, “the plaintiffs must show: (1) the City's ‘training policy or procedure

was inadequate’; (2) ‘the inadequate training policy was a “moving force” in

causing a violation of the [plaintiffs’] rights’; and (3) the City ‘was deliberately

indifferent in adopting its training policy.’” Livezey, 657 F. App'x at 278 (quoting

Valle, 613 F.3d at 544).

      Here, Plaintiffs allege “the City, the BSPD, and Chief Haber failed to

adequately train its officers on how to deal with individuals, specifically teenagers,

during a raid of an event and the subsequent use of deadly force.” Edwards Fourth

Am. Compl. 19; Stephens Third Am. Compl. 16-17; Washington Sec. Am. Compl.

17. More particularly, Plaintiffs assert “Defendant the City of Balch Springs under

the direction of the Balch Springs City Council and Chief Haber maintained a policy

of deficient training of its police force in the use of force, including the proper use

of deadly force and dealing with individuals during a raid of an event,” such that

“[t]he actual custom or practice of the BSPD regarding the use of excessive and/or

deadly force was to shoot first and ask questions later.” Edwards Fourth Am.

Compl. 19-20; Stephens Third Am. Compl. 17; Washington Sec. Am. Compl. 17. But

                                           14
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19          Page 15 of 29 PageID 2951


“for liability to attach based on an ‘inadequate training’ claim, a plaintiff must

allege with specificity how a particular training program is defective.” Roberts v.

City of Shreveport, 397 F.3d 287, 293 (5th Cir. 2005) (citing Benavides v. Cty. of

Wilson, 955 F.2d 968, 973 (5th Cir. 1992)). Plaintiffs make only conclusory

allegations that Defendant’s training policies or procedures were inadequate and

point to no specific policy. See Twombly, 550 U.S. at 555 (“[A] plaintiff's obligation

to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels

and conclusions . . . .”). Moreover, even if Plaintiffs had pointed to a specific policy,

they allege no facts indicating that the City was deliberately indifferent in adopting

that policy. See City of Canton v. Harris, 489 U.S. 378, 388 (1989) (“We hold today

that the inadequacy of police training may serve as the basis for § 1983 liability

only where the failure to train amounts to deliberate indifference to the rights of a

person with whom the police come into contact.”). Plaintiffs assert in their

responses that the City’s decision to hire Oliver represents deliberate indifference

because they contend that his pre-employment materials revealed he was unfit for

the job. Edwards Resp. 18; Stephens Resp. 17; Washington Resp. 16-17. But the

City’s decision to hire Oliver does not appear to fulfill any element of a failure-to-

train or supervise claim. Rather, “inadequate screening” constitutes a separate

theory of liability, which could conceivably represent an official policy for the

purpose of establishing municipal liability generally. However, Plaintiffs do not

maintain that the City had an unconstitutional official, or unofficial, hiring policy,

and the Supreme Court has rejected utilizing the single-incident exception in the

                                           15
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19       Page 16 of 29 PageID 2952


inadequate-screening context. See Bd. of Cty. Comm’rs, 520 U.S. at 410-11 (“The

fact that inadequate scrutiny of an applicant's background would make a violation

of rights more likely cannot alone give rise to an inference that a policymaker's

failure to scrutinize the record of a particular applicant produced a specific

constitutional violation.” (emphasis in original)). Instead, Plaintiffs’ claim for

general municipal liability fails on other grounds detailed above. Plaintiffs do not

bring a negligent hiring claim against the City. See Edwards Fourth Am. Compl.;

Stephens Third Am. Compl.; Washington Sec. Am. Compl.

      Nonetheless, Plaintiffs further assert that they do not need to establish a

pattern of failures to train because “Plaintiffs’ allegation of failure to train is

sufficient under the single incident exception.” Edwards Resp. 15; Stephens Resp.

14; Washington Resp. 14. “A narrow single-incident exception [to § 1983 municipal

liability] exists only ‘where the facts giving rise to the violation are such that it

should have been apparent to the policymaker that a constitutional violation was

the highly predictable consequence of a particular policy or failure to train.’”

Westfall v. Luna, 903 F.3d 534, 552 (5th Cir. 2018) (per curiam) (quoting Burge,

336 F.3d at 373). This exception, however, “is generally reserved for those cases in

which the government actor was provided no training whatsoever.” Peña v. City of

Rio Grande City, 879 F.3d 613, 624 (5th Cir. 2018). The Fifth Circuit previously

found the single-incident exception satisfied “where a reserve deputy, with ‘no

training’ from the police department applied excessive force during a single car

chase.” Id. (quoting Brown, 219 F.3d at 453-54, 462) (alteration in original). The

                                         16
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19           Page 17 of 29 PageID 2953


Peña court found the complaint before it could not satisfy the single-incident

exception because it acknowledged “that Solis and Salinas received taser training

from other officers.” Id. In this case, Plaintiffs state that Oliver “received training

from Sergeant James Young.” Edwards Fourth Am. Compl. 13-14; Stephens Third

Am. Compl. 12; Washington Sec. Am. Compl. 11-12. Because “there is a difference

between a complete failure to train[ ] . . . and a failure to train in one limited area,”

Plaintiffs failure-to-train allegations are insufficient under the single-incident

exception. Peña, 879 F.3d at 624 (alterations in original) (internal quotation marks

and citation omitted); see also Estate of Davis ex rel. McCully, 406 F.3d at 386

(“In contrast, here, there was training and Plaintiffs have not shown that those

training sessions were so deficient as to constitute deliberate indifference.”

(emphasis in original)). Thus, the Court finds that Plaintiffs fail to state a claim for

municipal liability on a failure-to-train theory.

      Similarly, for municipal liability to rest on a failure-to-supervise theory, “the

plaintiffs must show that ‘(1) the supervisor . . . failed to supervise . . . the

subordinate official; (2) a causal link exists between the failure to . . . supervise and

the violation of the plaintiff's rights; and (3) the failure to . . . supervise amounts to

deliberate indifference.’” Livezey, 657 F. App'x at 278 (quoting Smith v.

Brenoettsy, 158 F.3d 908, 911-12 (5th Cir. 1998)). “‘Proof of more than a single

instance of the lack of training or supervision causing a violation of constitutional

rights is normally required before such lack of training or supervision constitutes



                                           17
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19      Page 18 of 29 PageID 2954


deliberate indifference.’” Id. (quoting Thompson v. Upshur Cty., 245 F.3d 447, 459

(5th Cir. 2001)).

      Plaintiffs maintain “the City of Balch Springs and Chief Haber failed to

adequately supervise and/or discipline its employees in handling usual and

recurring situations with which they deal; the Balch Springs City Council was

deliberately indifferent to the need to supervise and/or discipline its officers

and/or employees adequately; and the failure to adequately supervise and/or

discipline its officers proximately caused the deprivation of Edwards, V.A., and

K.E.’s constitutional rights.” Edwards Fourth Am. Compl. 22; Stephens Third Am.

Compl. 19; Washington Sec. Am. Compl. 19-20. As proof of other instances,

Plaintiffs further allege “the City of Balch Springs and Chief Haber failed to

adequately supervise and/or discipline Defendant Oliver for pointing his gun at a

car full of females after a minor fender bender.” Edwards Fourth Am. Compl. 22;

Stephens Third Am. Compl. 19; Washington Sec. Am. Compl. 20. In particular,

Plaintiffs assert that “[h]ad the City’s Policymakers terminated Defendant Oliver

for pulling out his pistol and pointing it at a car occupied by women and children,

Edwards would be alive today,” and “M.E. and M.E.’s constitutional rights would

not have been violated.” Edwards Fourth Am. Compl. 22; Stephens Third Am.

Compl. 19; Washington Sec. Am. Compl. 20. However, Plaintiffs fail to plead facts

to support that any purported failure to supervise or discipline amounted to

deliberate indifference. Deliberate indifference is a heightened standard requiring

more than “[a] showing of simple or even heightened negligence.” Bd. of Cty.

                                        18
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19         Page 19 of 29 PageID 2955


Comm'rs, 520 U.S. at 407. It “require[es] proof that a municipal actor disregarded

a known or obvious consequence of his action.” Id. at 410. “A pattern of similar

constitutional violations by [unsupervised] employees is ‘ordinarily necessary’ to

demonstrate deliberate indifference for purposes of failure to [supervise].”

Connick v. Thompson, 563 U.S. 51, 62 (2011) (citing Bd. of Cty. Comm’rs, 520 U.S.

at 409). Though Plaintiffs assert that the “Balch Springs City Council was

deliberately indifferent,” they offer no facts to support a pattern of similar

constitutional violations resulting from a failure to supervise, and they fail to

sufficiently plead a pattern of failures to discipline as discussed in section I

together with general municipal liability.

       But Plaintiffs “seem[ ] to assert that this single incident of the City’s alleged

failure to discipline [or supervise] . . . is sufficient to infer a policy or custom of

such conduct.” Ling v. City of Garland, 2007 WL 9712236, at *5 (N.D. Tex. Feb.

23, 2007). In Grandstaff v. City of Borger, 767 F.2d 161 (5th Cir. 1985), “the Fifth

Circuit permitted a jury to find a municipal policy after hearing evidence describing

a single day of egregious events and the subsequent failure to discipline those

 officers involved.” Tarver v. City of Edna, 2006 WL 3053409, at *8 (S.D. Tex. Oct.

26, 2006) (citing Grandstaff, 767 F.2d at 171-72). The Fifth Circuit later

summarized Grandstaff as having affirmed a judgment against a Texas city on “a

highly peculiar set of facts:”

             [I]n response to a minor traffic violation, three patrol
             cars engaged in a high speed chase during which they
             fired wildly at the suspected misdemeanant; the object of

                                          19
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19        Page 20 of 29 PageID 2956


             this chase took refuge on an innocent person’s ranch,
             where the entire night shift of the city police force
             converged and proceeded to direct hails of gunfire at
             anything that moved; although nobody except the police
             was ever shown to have fired a shot, the innocent rancher
             was killed when the police shot him in the back as he was
             emerging from his own vehicle; after this “incompetent
             and catastrophic performance,” . . . which involved a
             whole series of abusive acts, the officers’ supervisors
             “denied their failures and concerned themselves only
             with unworthy, if not despicable, means to avoid legal
             liability.”

Coon v. Ledbetter, 780 F.2d 1158, 1161 (5th Cir. 1986) (quoting Grandstaff, 767

F.2d at 166, 171). However, “[s]ubsequent Fifth Circuit cases emphasize that the

rationale presented in Grandstaff may only be applied to cases with equally

extreme factual circumstances.” Tarver, 2006 WL 3053409, at *8 (citing

Ledbetter, 780 F.2d at 1161-62; Stokes v. Bullins, 844 F.2d 269, 274 n.8 (5th Cir.

1988); Snyder v. Trepagnier, 142 F.3d 791, 797-98 (5th Cir. 1998)). In cases that

do not have comparably extreme facts, “the Fifth Circuit does not permit an

inference of an unconstitutional custom or policy from a municipality’s failure to

discipline an officer for a single incident.” Id. (citing Fraire v. City of Arlington,

957 F.2d 1268, 1278-79 (5th Cir. 1992)); see also Ling, 2007 WL 9712236, at *5.

      Here, the Court finds that Plaintiff has not pleaded facts that are so extreme

as to permit an inference of an unconstitutional policy from a single incident of the

City’s alleged failure to discipline, particularly in light of the fact that the City

ultimately disciplined Oliver by terminating him. See Def.’s Answer 4 (ECF No.

133); Ling, 2007 WL 9712236, at *5 (“Although Officer Shaw had a history of prior


                                         20
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19         Page 21 of 29 PageID 2957


misconduct and excessive force, and Officers Shaw, Mott, and Banda were later

given a more severe punishment, the failure on the part of Chief Bates and the

internal affairs department to dole out a more severe punishment after their initial

investigation cannot be said to be as extreme as the supervisors’ conduct in

Grandstaff, who not only failed to discipline their subordinates, but blatantly

defended actions that resulted in the death of an innocent bystander.”). Because

“‘these requirements [for imposing municipal liability] must not be diluted, for

“[w]here a court fails to adhere to rigorous requirements of culpability and

causation, municipal liability collapses into respondeat superior liability,”’” the

Court finds that Plaintiffs fail to state a failure-to-supervise or discipline claim for

municipal liability against the City. Shumpert v. City of Tupelo, 905 F.3d 310, 316-

17 (5th Cir. 2018) (quoting Snyder, 142 F.3d at 796 (quoting Bd. of Cty. Comm’rs,

520 U.S. at 415)).

                     III.   Individual Damages Under § 1983

      Defendant the City moves to dismiss Plaintiffs’ “individual damage claims,”

asserting that “[t]he right to bring a claim under 42 U.S.C. § 1983 is a personal

right which does not accrue to a relative of the deceased.” Def.’s Br. Supp. Edwards

3; Def.’s Br. Supp. Stephens 3; Def.’s Br. Supp. Washington 4. Plaintiff Edwards

responds to the City’s argument that “[t]here is no individual cause of action to

recover damages based upon the alleged deprivation of the Constitutional rights of

another,” by arguing “Jordan’s brothers are entitled to bring a bystander claim”;

“Jordan’s brothers bring their own excessive force claims”; and Jordan’s father can

                                          21
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19       Page 22 of 29 PageID 2958


“recover damages for loss of the parent-child relationship.” Edwards Resp. 19-20.

Plaintiff Stephens also responds that she is entitled “to recover damages for loss of

the parent-child relationship.” Stephens Resp. 7. Plaintiff Washington asserts that

she is entitled to bring an “individual damage claim” on behalf of her sons, M.E.

and M.E., to recover past and future medical expenses incurred as a result of their

psychological treatment.2 Washington Resp. 7. Plaintiffs’ responses do not

specifically address any individual damage claim separate from a state-

law wrongful death or a “bystander claim.” Their Complaints, however,

appear to assert individual claims for damages under § 1983. Plaintiff

Edwards’s Complaint states that he “seeks compensation, individually, and as the

Next Friend of minors V.A. and K.E. and as the personal representative on behalf

of the Estate of Jordan Edwards” for violations of Jordan, V.A., and K.E.’s

constitutional rights. Edwards Fourth Am. Compl. 21. Plaintiff Stephens’s

Complaint also seeks “compensation individually,” for violations of Jordan’s

constitutional rights. Stephens Third Am. Compl. 18-19. And Plaintiff

Washington’s Complaint states, “As a result of these Constitutional violations

to M.E. and M.E. and the injuries they sustained, [Plaintiff Washington]

seeks compensation, individually, and as the Next Friend of minors M.E. and

M.E.” Wash. Sec. Am. Compl. 19. Because the Court finds that Plaintiffs fail to

state a claim for municipal liability against the City on any theory,


2 While Washington asserts an “individual damage claim,” she does not bring a “false

arrest/unlawful detention claim against The city in [her] Second Amended Complaint.”
Washington Resp. 18.
                                         22
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19       Page 23 of 29 PageID 2959


the Court does not reach the issue of individual damages under § 1983 against the

City.

        However, Plaintiffs Edwards and Stephens assert that they are “entitled to

recover loss of consortium damages for the death of [their] child.” Edwards Resp.

19; see Stephens Resp. 7-8. Because the assertion appears under the “VI. Damages”

heading in Plaintiffs’ Complaints, and not under “V. Causes of Action,” the Court

construes any loss-of-consortium claim as a claim for damages under § 1983.

Edwards Fourth Am. Compl. 23; Stephens Third Am. Compl. 20. The Fifth Circuit

has “consistently held that a parent may recover damages analogous to state law

wrongful death damages in a § 1983 action based on the violation of her child's civil

rights.” Flores v. Cameron Cty., 92 F.3d 258, 271 (5th Cir. 1996) (citing Rhyne v.

Henderson Cty., 973 F.2d 386, 391 (5th Cir. 1992)). Thus, had Plaintiffs

successfully stated a § 1983-municipal-liability claim against the City, they could

be entitled to damages analogous to state-law wrongful death damages for the

violation of their child’s civil rights. That is, the possibility of recovering such

damages would not be legally foreclosed, contrary to Defendant’s assertion. See

Def.’s Br. Supp. Edwards 4; Def.’s Br. Supp. Stephens 4. However, because the

Court determines that Plaintiffs fail to state a § 1983 claim against the City on any

theory, the Court pretermits the issue of individual damages under § 1983 against

the City.




                                         23
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19                 Page 24 of 29 PageID 2960


                     IV.     “Bystander” and State-law Claims

       Defendant the City next moves to dismiss Plaintiffs’ “bystander claims,”

maintaining that “[o]ne who merely witnesses police action directed to another

may not recover damages for such action . . . regardless of the proximity of the

bystander.” Def.’s Br. Supp. Edwards 3-4; Def.’s Br. Supp. Stephens 3-4; Def.’s Br.

Supp. Washington 4. Specifically, the City’s Motion is “directed toward any claims

of the minor plaintiffs V.A. and K.E. which are based upon the alleged deprivation

of the Constitutional rights of the deceased.” Def.’s Reply Edwards 2 (ECF No. 149).

In his response, Plaintiff Edwards asserts that “Jordan’s brothers are entitled to

bring a bystander claim based on having witnessed the fatal shooting of Jordan,”

and cites Edinburg Hospital Authority v. Treviño, 941 S.W.2d 76, 80 (Tex. 1997).

Edwards Resp. 19. Plaintiff Stephens and Washington do not address any

bystander claim in their responses, nor do they assert bystander claims in their

Complaints. In Plaintiff Edwards’s Complaint, however, he asserts bystander

claims on behalf of both V.A. and K.E. Edwards Fourth Am. Compl. 23-24. Because

Plaintiff Edwards includes his bystander claims under the heading “VI. Damages”

and not “V. Causes of Action,” the Court construes his “bystander claims” as claims

for damages under § 1983 and not as separate state-law causes of action.3


3 Defendant the City also apparently did not construe Plaintiff’s claims as separate state-law
tort claims; otherwise, it undoubtedly would have raised an immunity defense. See Tex. Bay
Cherry Hill, L.P. v. City of Fort Worth, 257 S.W.3d 379, 389 (Tex. App.—Fort Worth 2008, no
pet.) (citing Tex. Civ. Prac. & Rem. Code § 101.0215(a), (b)) (“A municipality is liable for torts
arising from the exercise of its proprietary functions, but it is generally immune from suit and
liability for torts arising from the exercise of its governmental functions, except for the limited
waiver provided by the Texas Tort Claims Act.”); Univ. of Tex. Med. Branch at Galveston v.
York, 871 S.W.2d 175, 177 (Tex. 1994).
                                               24
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19          Page 25 of 29 PageID 2961


         “Section 1983 imposes liability for violation of rights protected by the

Constitution, not for violations of duties of care arising out of tort law.” Baker v.

McCollan, 443 U.S. 137, 146 (1979). “Negligent infliction of emotional distress is a

state common law tort; there is no constitutional right to be free from witnessing

. . . police action.” Grandstaff, 767 F.2d at 172. Thus, federal law does not recognize

a § 1983 “bystander” claim. See id. (“We conclude that, under Texas law, this

recovery [for emotional injuries suffered as bystanders] is proper against the

officers, but that it is not permitted under § 1983 and may not therefore be

recovered from the City.”). Because there is no cognizable “bystander” claim under

§ 1983, and because Plaintiff Edwards fails to state a § 1983-municipal-liability

claim against the City, the Court finds that he is not entitled to damages on that

basis.

         Similarly, in his Complaint under the heading “VI. Damages,” Plaintiff

Edwards includes the subheading “Estate of Jordan Edwards (Survival Claim; Tex.

Civ. Prac. & Rem. Code § 71.021),” and under that same heading, both Plaintiff

Edwards and Stephens include the subheading “(as wrongful death beneficiary of

Jordan Edwards; Tex. Civ. Prac. & Rem. Code § 71.004).” Edwards Fourth Am.

Compl. 23; Stephens Third Am. Compl. 20. Like Plaintiff Edwards’s bystander

claims, the Court construes these subheadings as asserting separate bases for

damages in conjunction with their § 1983-municipal-liability claims, rather than

independent state-law wrongful-death or survival causes of action. Thus, because

Plaintiffs fail to state a claim against the City for municipal liability, the Court also

                                           25
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19       Page 26 of 29 PageID 2962


does not reach the issue of whether Plaintiffs are entitled to damages on these

bases.

                              V.     Leave to Amend

         In their responses, Plaintiffs request leave to amend should the Court find

any defects in their Complaints. Edwards Resp. 22; Stephens Resp. 18;

Washington Resp. 18. Federal Rule of Civil Procedure 15(a) provides that “a party

may amend its pleading once as a matter of course . . . .” Fed. R. Civ. P. 15(a)(1).

Thereafter, “a party may amend its pleading only with the opposing party’s written

consent or the court’s leave.” Id. 15(a)(2). However, Rule 16(b)(3)(A) requires that

a scheduling order “limit the time to join other parties, amend the pleadings,

complete discovery, and file motions.” Id. 16(b)(3)(A). And “[a] schedule may be

modified only for good cause and with the judge’s consent.” Id. 16(b)(4). Thus, a

party seeking to amend her pleadings beyond the scheduled deadline must first

meet the Rule 16(b)(4) standard before the court evaluates whether the Rule

15(a)(2) standard has been met. S&W Enters. v. SouthTrust Bank of Ala., NA, 315

F.3d 533, 536 (5th Cir. 2003) (“Only upon the movant's demonstration of good

cause to modify the scheduling order will the more liberal standard of Rule 15(a)

apply to the district court's decision to grant or deny leave.”). To show good cause,

the movant must demonstrate that she “‘could not reasonably have met the

scheduling deadline’” despite her diligence. Grant v. Rathbun, 2016 WL 1750572,

at *2 (N.D. Tex. May 3, 2016) (quoting Matamoros v. Cooper Clinic, 2015 WL

4713201, at *2 (N.D. Tex. Aug. 7, 2015)). Additionally, under Rule 15(a), the court

                                          26
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19       Page 27 of 29 PageID 2963


has discretion whether to grant leave to amend “and may consider a variety of

factors including undue delay, bad faith or dilatory motive on the part of the

movant, repeated failures to cure deficiencies by amendments previously allowed,

undue prejudice to the opposing party . . . , and futility of the amendment.” Marucci

Sports, L.L.C. v. Nat'l Collegiate Athletic Ass'n, 751 F.3d 368, 378 (5th Cir. 2014)

(internal citation and quotation marks omitted). “An amendment is futile if it would

fail to survive a Rule 12(b)(6) motion.” Id. (citing Briggs v. Mississippi, 331 F.3d

499, 508 (5th Cir. 2003)). In this case, the time to file amended pleadings without

leave expired on October 10, 2018. Sched. Order (ECF No. 124). Accordingly,

Plaintiffs must now show good cause as to why they could not reasonably have met

the deadline to amend their pleadings. Plaintiffs’ requests fail to address the Rule

16 standard. Edwards Resp. 22; Stephens Resp. 18; Washington Resp. 18.

Additionally, the live pleadings in this case are Plaintiff Edwards’s Fourth

Amended Complaint, Plaintiff Stephens’s Third Amended Complaint, and Plaintiff

Washington’s Second Amended Complaint. Because Plaintiffs have had several

opportunities to cure pleading deficiencies, the Court finds that further

amendment would be futile. Accordingly, Plaintiffs’ requests for leave to amend

should be DENIED.

                       VI.    Costs and Attorney’s Fees

      The City also requests the Court award it costs, including reasonable

attorney’s fees, under 42 U.S.C. § 1988, which provides that “the Court, in its

discretion, may allow the prevailing party, other than the United States, a

                                         27
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19         Page 28 of 29 PageID 2964


reasonable attorney’s fee as part of the costs.” 42 U.S.C. § 1988(b). Section 1988

has been interpreted to provide for the recovery of costs by a prevailing defendant

when a plaintiff maintains an unfounded action in bad faith, vexatiously, wantonly,

or for oppressive reasons. Holloway v. Walker, 784 F.2d 1294, 1296 (5th Cir. 1986)

(per curiam) (citation omitted). Here, the City does not argue—nor is there

anything in the record to suggest—that Plaintiffs’ claims were filed in bad faith or

with malicious intent. The fact that the Court is recommending dismissal of

Plaintiffs’ claims is not in itself sufficient justification for a fee award. Hughes v.

Rowe, 449 U.S. 5, 15 (1980) (per curiam) (“The fact that a . . . complaint, . . . cannot

survive a motion to dismiss does not, without more, entitle the defendant to

attorney’s fees.”). Accordingly, Defendant’s request to recover costs and attorney’s

fees under 42 U.S.C. § 1988 should be DENIED.

                                Recommendation

      For the reasons stated, the District Court should GRANT Defendant the City

of Balch Springs’s Motions to Dismiss (ECF Nos. 132, 135, and 137) and DISMISS

Plaintiffs’ claims against the City with prejudice. Additionally, the Court should

DENY Plaintiffs’ requests to further amend their Complaints and DENY

Defendant’s request to recover costs and attorney’s fees under 42 U.S.C. § 1988.

      SO RECOMMENDED.

      May 17, 2019.

                                      ____________________________
                                      REBECCA RUTHERFORD
                                      UNITED STATES MAGISTRATE JUDGE

                                          28
Case 3:17-cv-01208-M-BT Document 187 Filed 05/17/19        Page 29 of 29 PageID 2965


                  INSTRUCTIONS FOR SERVICE AND
                 NOTICE OF RIGHT TO APPEAL/OBJECT

       The United States District Clerk is directed to serve a true copy of these
findings, conclusions, and recommendation on the parties. Pursuant to Title 28,
United States Code, Section 636(b)(1), any party who desires to object to these
findings, conclusions, and recommendation must serve and file written objections
within 14 days after being served with a copy. A party filing objections must
specifically identify those findings, conclusions, or recommendation to which
objections are being made. The District Court need not consider frivolous,
conclusory, or general objections. A party’s failure to file such written objections
to these proposed findings, conclusions, and recommendation will bar that party
from a de novo determination by the District Court. See Thomas v. Arn, 474 U.S.
140, 150 (1985). Additionally, any failure to file written objections to the findings,
conclusions, and recommendation within 14 days after being served with a copy
will bar the aggrieved party from appealing the factual findings and legal
conclusions of the Magistrate Judge that are accepted by the District Court, except
upon grounds of plain error. See Douglass v. United Services Auto. Ass’n, 79 F.3d
1415, 1417 (5th Cir. 1996) (en banc).




                                         29
